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              EXHIBIT
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                 Case 1:22-cv-00381-CCR Document 5-2 Filed 07/22/22 Page 2 of 2



                                                                     OFFICE OF
                                                                     OFFICE OF THE
                                                                               THE VICE
                                                                                   VICE PRESIDENT
                                                                                        PRESIDENT FOR
                                                                                                  FOR ACADEMIC
                                                                                                      ACADEMIC AFFAIRS
                                                                                                               AFFAIRS
C         .                                                                                     phone 716.888
                                                                                                phone         .2120 | fax
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                                                                                                                          716.888.2125
Canisius      US                                                                                                                       .
                                                                                                                   acafmail@canisius.edu
                                                                                                                   acafmail (5) canisius edu




                                                                     February 21
                                                                     February 21,, 2019
                                                                                   2019




    Dr. . Michael
    Dr    Michael Noonan
                   Noonan
    66 Meadow
    66    Meadow Road
                    Road
    Orchard Park
    Orchard    Park,, NY
                      NY 14127
                         14127

    Dear Dr. . Noonan
    Dear Dr    Noonan: :


 This letter
 This  letter is
               is to
                  to inform
                      inform youyou that
                                     that youyou are
                                                   are being
                                                        being suspended
                                                               suspended with
                                                                            with pay
                                                                                   pay, , effective
                                                                                          effective immediately
                                                                                                     immediately and and until
                                                                                                                           until
 further notice
 further   notice, , as
                     as the
                        the investigation
                               investigation intointo student
                                                        student complaints
                                                                  complaints ofof your
                                                                                  your statements
                                                                                          statements and and conduct     continues. .
                                                                                                              conduct continues
 Please be
 Please   be advised
              advised thatthat you
                                you are
                                      are not
                                            not permitted
                                                 permitted to  to communicate
                                                                  communicate with         students. . You
                                                                                   with students       You are
                                                                                                            are not
                                                                                                                 not permitted
                                                                                                                      permitted to  to
 travel with
 travel  with students
                students or  or to
                                 to be
                                    be inin any
                                            any direct
                                                  direct contact
                                                           contact with
                                                                    with them
                                                                          them during
                                                                                 during this    suspension. . If
                                                                                           this suspension     If the
                                                                                                                  the need
                                                                                                                       need arises
                                                                                                                              arises, ,
 you may
 you   may communicate
             communicate with    with members
                                        members of    of the
                                                          the campus
                                                              campus community
                                                                        community through
                                                                                      through youryour department
                                                                                                         department chairs
                                                                                                                        chairs, , Drs
                                                                                                                                  Drs. .
 Sue Margulis
 Sue  Margulis and and Liz
                         Liz Hogan
                              Hogan, , by
                                        by phone
                                             phone. .

 Please note
 Please  note that
                 that retaliation
                        retaliation is
                                     is prohibited
                                         prohibited andand anyone
                                                             anyone who
                                                                      who engages
                                                                            engages inin such
                                                                                         such retaliation
                                                                                               retaliation will
                                                                                                             will be
                                                                                                                   be subject
                                                                                                                        subject to
                                                                                                                                 to
 disciplinary action
 disciplinary    action, , up to and
                           up  to and including immediate
                                        including    immediate termination
                                                                   termination. . For
                                                                                  For your
                                                                                       your information
                                                                                             information and and asas aa
 reminder, , I| quote
 reminder       quote herehere the
                                the language
                                    language from from the
                                                         the Anti
                                                              Anti-Discrimination
                                                                  -Discrimination andand Harassment
                                                                                          Harassment Policy
                                                                                                         Policy: : Retaliation
                                                                                                                    Retaliation
 means any
 means   any action
                action taken
                          taken against
                                 against a  a person
                                              person whowho has
                                                              has filed
                                                                  filed aa complaint
                                                                           complaint under
                                                                                       under the
                                                                                              the College
                                                                                                   College’s' s policy,
                                                                                                                policy, oror who
                                                                                                                             who
 has
 has participated
     participated      in  or cooperated      with  an  investigation.
                       in or cooperated with an investigation.

 IfIf you
      you have
          have any
               any questions
                   questions regarding
                             regarding this
                                       this matter
                                            matter, , please
                                                      please contact
                                                             contact Linda
                                                                     Linda Walleshauser
                                                                           Walleshauser at
                                                                                        at 888
                                                                                           888-2244,
                                                                                               - 2244.

                                                                     Sincerely,                         3



                                                                     Margaret C
                                                                     Margaret   C.. Mlcarthy,  PhD
                                                                                    MtCarthy, PhD
                                                                     Vice President
                                                                     Vice President for
                                                                                      for Academic
                                                                                          Academic Affairs
                                                                                                   Affairs



 cc:: Linda
 cc   Linda Walleshauser
             Walleshauser, , AVP
                             AVP Human
                                 Human Resources
                                       Resources &
                                                 & Compliance
                                                   Compliance
      and Title
      and  Title IX
                 IX Coordinator
                    Coordinator




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                                                             Buffalo, , NY
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